                NOTICE REGARDING TELEPHONIC CHAPTER 11 § 341 MEETINGS IN THE
                             MIDDLE DISTRICT OF PENNSYLVANIA

The U.S. Trustee Program has extended the requirement that section 341 meetings be conducted by telephone or
video appearance to all cases filed during the period of the President's "Proclamation on Declaring a National
Emergency Concerning the Novel Coronavirus Disease (COVID−19) Outbreak" issued March 13, 2020, and ending
on the date that is 60 days after such declaration terminates. However, the U.S. Trustee may approve a request by a
trustee in a particular case to continue the section 341 meeting to an in−person meeting in a manner that complies
with local public health guidance, if the U.S. Trustee determines that an in−person examination of the debtor is
required to ensure the completeness of the meeting or the protection of estate property. This policy may be revised at
the discretion of the Director of the United States Trustee Program.

Given the foregoing, this notice addresses the protocol for telephonic appearances for chapter 11 section 341
meetings only. Chapter 13 debtors should refer to their standing trustee's protocol or website for additional
information.

All debtor attorneys and debtors are encouraged to participate in section 341 meetings by telephone, or by such
remote means as the trustee has established and noticed. Attorneys and debtors may call in from separate locations.
Creditors and creditor attorneys may appear remotely and should use the information provided below or on the docket
to participate.

All parties are encouraged to call the UST attorney assigned to the case or check the case docket for up−to−date
information about section 341 meetings of creditors.

Unless otherwise instructed, to participate in a telephonic section 341 meeting, you should use the Call−In Number
and Passcode assigned to the UST, which is listed below.

Please follow the instructions below to ensure a smooth telephonic section 341 meeting of creditors.

       • You must use a touch−tone phone.
       • If you have a choice, use a landline phone, instead of a cell phone.
       • Dial the call−in number and then enter the passcode, which consists of 7 numbers and is followed by a # sign.
       • Make the call from a quiet area where there is as little background noise as possible.
       • When speaking, identify yourself.
       • Do not put the phone on hold at any time after the call is connected.
       • If you become disconnected before your meeting of creditors is finished, call back.

Debtor's counsel must verify on the record that they have confirmed their client's identity prior to the section 341
meeting of creditors, either via Facetime or Skype or other means.

The section 341 meeting of creditors will be recorded by the UST. Any other recordings are prohibited.

UST Call−In−Number: 1−877−351−0569
Participant Code: 1117673#
tele11(03/20)




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